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Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 17 of 28 PageID #: 20
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Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 20 of 28 PageID #: 23
Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 21 of 28 PageID #: 24
Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 22 of 28 PageID #: 25
Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 23 of 28 PageID #: 26
Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 24 of 28 PageID #: 27
                               M THE CIRCUIT COURT OF TROUSDALE COUNTY, TENNESSEE
                                  FOR THE FIFTEENTH JUDICIAL DISTRICT HARTSVILLE

 Docket No. ^030'Ci/" LiS8l                                                     AD DAMNUM $

 JUSTIN WRIGHT,                                                              CORECIVIC, INC. AND CORECIVIC $g£
                                                                  vs.        TENNESSEE, LLC,           KIM TAYLOR
 Plaintiff,
                                                                                                                       DEC 2 9 2020
                                                                            Defendants.
                                                                                                                 CIRCUIT COURT CLERK v
 TO:     CoreCivic, Inc.
         Registered Agent: CT Corporation System                                                  TN SECRETARY OF STATE
         300 Montvue Road
         Knoxville, TN 37919



 You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and
 serving a copy of your answer to the Complaint on Jeffrey S. Rosenblum, Plaintiffs attorney, whose address is Rosenblum
 & Reisman, P.C., 6070 Poplar Avenue, Suite 550, Memphis, Tennessee 38119 and telephone, (901) 527-9600, within
THIRTY (30) DAYS after this summons has been served upon you, not ineluding the day of service. If you fail to do so, a
judgment by default may be taken against you for the relief demanded in the Complaint.
                                                                                                          .Clerk
                                                      20                          ^Cr>vJ^4d5nal
TESTED AND ISSUED                                                                                                   b£._____ , D.C.

                                                    TO THE DEFENDANT(S):

NOTICE: Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment.
If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under
oath, of the items you wish to claim as exempt with the Cleric of the Court. The list may be filed at any time and may be changed by you
thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or
garnishment issued prior to the filing of the list Certain items are automatically exempt by law and do not need to be listed. These
include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain
such apparel, family portraits, the family Bible and school books. Should any of these items be seized, you would have the right to
recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer.



I,_____ ______________________ , Clerk of the Court, Trousdale County, Tennessee, certify this to be a true and accurate copy as

filed this ____ of______________,______ .

Clerk
                                                                        By:_________________________________ D.C.
                                                                                           Kim Taylor
                                                                                           Circuit Court Clerk
                                                                                           303 East Main Street, Room #2
                                                                                           Hartsviile, TN 37074




                                                       '°N IU                                            SM £0:10 NOH/IZOZ/IO/aai


  Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 25 of 28 PageID #: 28
                                       RETURN OF SERVICE OF SUMMONS

 r HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:
 By delivering on the 8th day of     March_____ , 20 _21 at 11:15 a.nM- a copy of the summons and a copy of the
 Complaint to the following defendant^): CoreCivic, Inc.               _____________________ at
  by email to Erin Palmer Polly, Attorney for CoreCivic, Inc., by agreement




                                   RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant             ___________________________________________________________because
                                    is (are) not to be found in this County after diligent search and inquiry' for the
following reason(s):


DATED: this        day of                             ,20


                                                         By:_________________________________________ „
                                                            Sheriff or other Authorized Person to Serve Process


PRIVATE PROCESS SERVER (PLEASE PRINT THE FOLLOWING)


Name of Private Process Server                              Address


Company                                                     Phone




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 Case 3:21-cv-00276 Document 1-1 Filed 04/05/21 Page 26 of 28 PageID #: 29
                               IN THE CIRCUIT COURT OF TROUSDALE COUNTY, TENNESSEE
                                   FOR THE FIFTEENTH JUDICIAL DISTRICT HARTSVILLE

 DocketNo.^fiSO'C^ 4881
                                                                                AD DAMNUM $

 JUSTIN WRIGHT,                                                              CORECIVIC, INC. AND CORECIVIC
                                                                  vs.        TENNESSEE, LLC,           K!m taylor
 Plaintiff,
                                                                                                                       DEC 2 3 2020
                                                                            Defendants.
                                                                                                                  CIRCUIT COURT CLERK
                                                                                                                  BY__
 TO:      CoreCitic, Inc.                                                                         Method of ServiJfF
          Registered Agent: CT Corporation System                                                 TN SECRETARY OF STATE
          300 Montvue Road
          Knoxville, TN 37919



 You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and
 serving a copy of your answer to the Complaint on Jeffrey S. Rosenblujn, Plaintiffs attorney, whose address isRosenblum
 & Reisman, P.C., 6070 Poplar Avenue, Suite SSO, Memphis, Tennessee 38119 and telephone, (901) 527-9600, within
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judgment by default may be taken against you for the relief demanded in the Complaint.
                                                                                         „                 .Clerk
TESTED AND ISSUED                          ___________ 20                     da+Ktj ^\yJL^j^rn.b C                              , D.C.

                                                    TO THE DEPENDANT(S):

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include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain
such apparel family portraits, the family Bible and school books. Should any of these items be seized, you would have the right to
recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer.



I                                     Clerk of the Court, Trousdale County, Tennessee, certify this to be a true and accurate copy as
                                                                                                                                               X
filed this______of,

Clerk                                                                                                                                      t
                                                                        By:_________________________________ D.C.                          i
                                                                                                                                           j
                                                                                           Kim Taylor
                                                                                           Circuit Court Clerk
                                                                                           303 East Main Street, Room #2
                                                                                           Hartsviile, TN 37074


                                                                                                                FOR ASSISTANCE CALL
                                                                                                                                           r
                                                                                                                                           j
                                                                                                                                           j
          £00 ‘d                                       '°N Hi                                            ild E0:i0 NOW/1202/10/SSd

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                                         RETURN OF SERVICE OF SUMMONS

 r HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:
 By delivering on the 8th   day of     March_____ , 20 _21 ar 11:15 a.rtM- a copy of the summons and a copy of the
 Complaint to the following defendant^): CoreCivic, Inc.____________________________ at
  by email to Erin Palmer Polly, Attorney for CoreCivic, Inc., by agreement




        Signature of Person Accepting Service



                                     RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant               ___________________________________________________________because
                                      is (are) not to be found in this County after diligent search and inquiry for the
following reason(s):


DATED: this        day of                               ,20__.


                                                         By:_______________________________________
                                                            Sheriff or other Authorized Person to Serve Process


PRIVATE PROCESS SERVER (PLEASE PRINT THE FOLLOWING)


Name of Private Process Server                               Address


Company                                                      Phone




                                                 ■»n m                                          Hi E0:10 N0H/IZ0Z/10/83i

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